Case: 1:09-cr-00383 Document #: 754 Filed: 09/27/19 Page 1 of 10 PageID #:6784
                             PROCEEDINGS SEALED BY ORDER OF COURT
                                                                                                1



     1                     IN THE tfi{ITED STATES DISTRICT CU'RT
                          FoR THE                    ITINoF I [- E                         D
     2                            ry$,ffi^?tffitT.r*
     3                                                                     sEP       7   2019

    4
          UNITED STATES OF AI'IERICA,                                            '
                                                                          THOMAS G. BRUTON
                              Plaintiff,
     5                                                case No. os tfiSBS9rU?11't'
          -vs-
     6                                                Chicaoo. I'llinois
                                                      Anoust 27. 2f,19
     7    PEDRO FLORiES and I'IARGARITO               9:50 a.m.
          FLMES,
     8
                              Defendants.
    I
  10                           TMNSCRIPT      ffi
                                                PrcCEEDII.IGS
                          BEFORE THE [fi]tl0RABLE RtEB,l CASTILIO
   1',|
          APPEAM}.ICES:
  12
          For the Covernment:       I'XS. ERIKA L. CSICSITA
  13                                ]R. CfIRISTOPIIER PAUL HOTALING
                                   Assistant United States Attorneys
  14                               219 S. Dearborn Street
                                    Chicm.  IL 60604
                                        -353-5300
  15                                (31 2)

  16
          For Defendant
  17      Pedro Flores:
  18
  19
  20
  21      Cotlrt Reporter:
  22                   KATHEEN   M. FENNELL, CSR, RPR, RI,IR, FCRR
                                Officia] Court Reporter
  23                          United States D'istrict Court
                          219 South Dearborn     Street, Suite 2504
  24                            Chicaoo. Il I inois 60604
                               Teleohdn6: rc121 435-5569
  25                      lGthl een-Fennel   I Gi I nd.   uscourts .gov
Case: 1:09-cr-00383 Document #: 754 Filed: 09/27/19 Page 2 of 10 PageID #:6785

                             PROCEEDINGS SEALED BY ORDER OF COURT
                                                                                 2

         APPEARA}ICES:    (Conti nued)
         For Deferdant
         lhrgari to Flores :




   19
   20
   21

   22
   23
   24
   25
              Case: 1:09-cr-00383 Document #: 754 Filed: 09/27/19 Page 3 of 10 PageID #:6786

                                                  PROCEEDINGS SEALED   BY ORDER OF    COURT
                                                                                                                3

                  1                    (Proceedi      rgs heard i n open couft:        )

                  2                  THE CLERK:          09 CR 383, United States versus Pedro and
                  3    llargari   to     Flores   .


                  4                  I'lS. CSICSILA: Good morni            ng   , Your !'bnor.
O9:50:55          5                  THE      OURT:      Good mornirp.

                  6                  t'ls. CSICSITA: Erika Csicsila and Chris Hotaling                     on

                  7    beha'lf    of the United States.
                  I                  I'lR. I'PTALIIE: Good mornirg, Yqrr Honor.
                  I                  THE      mtffif:    Good   mornirg.
09: 51 :01       10                  I                    Good mornirg,         Judge.     I           *
                 11    behalf of ilargarito Flores.
                 12                                       Good morn'ing,        Your llonor.
                 13    on behalf         of   Pedro Flores.
                 14                  THE COURI:          Okay.    It's a pretty unusual nuction.
09:51   lll      15    Ifrrat   is   the government's reaction?
                 16              rls. CSICSITA: Judge, u\e bel'ieve the motion shold be
                 17    denied because, in essence, the motion asks for an order
                 18    seeking re'lief hsed on post-sentencirg cooperation, and the
                 19    case ]ffv, l,hde vs, Unitd States, makes clear that that is
09251127         20    insufficient to have judicia'l intervention in Rr.rle 35 context.
                 21    So ue rruou]d ask          inltial]y that the motion just               be denied
                 22    ortright.
                 23                   THE     mrRf: Okay.
                 24                   MS. CSICSITA:         I have responses to the various facts
09:51 :38        25    that are alleged in the mction, but, aga'in, based on the case
             Case: 1:09-cr-00383 Document #: 754 Filed: 09/27/19 Page 4 of 10 PageID #:6787

                                                PROCEEDINGS SEALED BY ORDER OF COURT
                                                                                                            4

                 1    l€M,       I think 'it should be denied.
                 2                 CUfiT: Essentially, it's the government's
                                       THE

                 3    position that I don't have the porver to order the government
                 4    to do this.
09:5'l :50       5             MS. CSICSIIA: Correct, not under the shoring that's
                 6    been mde by the            defense.   htade   vs. United States     makes     clear
                 7    that there has to be someth'ing in addit'ion to just facts
                 I    setting forth that there vras post-sentencing cooperation,
                 I                   My, i s contempl ated by the pl ea agreement , and
                      t*ri ch , by the
09:52:08        10    I vrould direct the Court and the defense to Paragraph 31 of
                11    the plea         agreement.
                12                     That said, there must be a shoring          of   improper mctive
                13    of some sort. The case'laru points to race-based motivations
                14    or relig'ious-based rnotivations, sone sort of unconstitutimal
09:52:25        15    mot'ive that'is just not present here, has not been a'lIeged,
                16    and so no hearirg is warranted let alone relief.
                17                     THE   COJRI: Okay. Let me hear from the defense.
                18                                    Judge, our posit'ion       is that the response
                19    g'iven by the goverrunent as          to   vutry   they uould not pursue the
ODt52 42        20    fule 35 notion essentially uas based on their claim that this
                21    cooperation uas covered by the plea                  agrerent.    We   very
                22    strongly disagree with that for the reasons set forth 'in
                23    wri   ti   ng.

                24                     THE   C0UR[: |,Jhat about the plea agreement, vtouldn't
09:53:00        25    that control?
              Case: 1:09-cr-00383 Document #: 754 Filed: 09/27/19 Page 5 of 10 PageID #:6788

                                            PROCEEDINGS SEALED BY ORDER OF COURT
                                                                                               5

                  1                                            of the p1€ 4reentsnt ,
                                                   Ju@e, the terms
                  2    specifically Par4raph 12, talk about their duty to cooperate
                  3    and the t'iming of their sentenciru. They were told, as ne
                  4    indicated 'in writing, that their cooperation uyas conplete,
09:53,:   l9      5    wtrich triggered the sentencing event, which then occurred in
                  6    January   of 2015
                  7                             that fol'lorcd occurs 'in 2017 and
                                  The moperat'lon
                  I    2018, eM up believe that it 'is truly post-sentencing
                  I    cooperation not covered within the terms of the qreement, and
O9:53:41         10    it's our position tfnt the bad faith m the part of the
                 11    government is based in their claim that this is corered by the
                 12    plea agreennnt, and we say that it is rpt.
                 13             MS. CSICSILA: And, Judge --
                 14                                Judge, could   I   also add soneth'ing?
O9:53:57         15               THE   @ffilT:   Yes,

                 16                           lG also added in our pleadirg the
                 17    concept of what I ca'll mutual mistake. The heart of this
                 18    motion is that I believe, I           beJieves, our clients
                 19    believe, and the govenurcnt apparently d'isagrees, that they
O9: 54:   'l 5   20    uru'ld not be sentenced until their cooperation is complete and
                 21    no one  in their wildest inng'ination uonld have ever thor.lght
                 22    that i t uas real i sti c that Mr . Gumn was goi ng to be brought
                 23    back here. That's the nature of the rutual mi stake,
                 24    regardless of the terms of the contract of the plea agrearent,
09 : 54: 35      25    which   I think --
                Case: 1:09-cr-00383 Document #: 754 Filed: 09/27/19 Page 6 of 10 PageID #:6789

                                                 PROCEEDINGS SEALED BY ORDER OF COURT




                    1               THE       @ffi[T:   Do you      th'ink that mistake uould have to
                    2    be   rutm'l --
                    3                                    I thirk it is
                    4               THE ffiJRT:-- for your argunent to be effective?
09:54:46            5                           Brrt I think it is a m,ltual mistake.
                    6   tfien the government - - i t uas the governnent that suggested
                    7    that nt have the sentenc'irq nften vrc did               because   if   you recal1   ,

                    I    I think the rangts was 10 to --
                    I                                    16.
O9 : 54:   59      10                                          10   to   16 years , and there
                                                                             ms some
                   11   concern at the tire with respect to, )rou knouv, if they got to
                   12   10 t*ren they got out, and the govermrent said rc think their
                   13   cooperation is corplete, and that's the only reason ue vtent
                   14   a'long with it.
O9:55:14           15             Ikrv, we didn't disagree at the time because I
                   16   believed, just like I bef ieve the evidence would show the
                   17   government believed, nobody thought that it uas realistic that
                   18   this uou]d occur,         and    it    did occur.
                   19              So vre      think the question on the tab'le is, and maybe
09:55:31          20    this --   and     I   think I hinted at this or suggested it 'in the
                  21    pleadirg, tlre rea'l issue ls, yotr know, nould that have charged
                  22    your mind had yor knom that at the time? tG think it might
                  23    have only in the sense that this is nor a level of
                  24    dangerusness          to them and their famil'ies
09:55:50          25               THE    m,Rf     :    Right.
              Case: 1:09-cr-00383 Document #: 754 Filed: 09/27/19 Page 7 of 10 PageID #:6790
                                                PROCEEDINGS SEALED   BY ORDER OF   COURT
                                                                                                          7

                  1                                    -- that is significantly different.
                  2              THE      mURf: Okay.
                  3               IlS. CSICSILA: Judge --
                  4              THE mURf         :   C'o ahead.

09 : 55: 55       5               t'ls. CSICSILA:        -- could I     respond briefl)/?
                  6              THE      ffiJRI:     Yes.

                  7               1'lS.   CSICSIIS: So I urderstand defense mlnsel is
                  I    pointing to Paragraph 12 of the plea agreqrcnt uf,tich ta'lks
                  I    about the timing of the defendant's sentencirg. That
O9 : 56: 07      10    paragraph reflects that the defendant agrees to postpone                    h'is
                 11    sentenci rE unti     I   the cooperati on i s cmpl eted .           It doesn't say
                 12    anything about when the cooperation               is in fact corp'lete --
                 13              THE      OURT: Right.
                 14               I'lS. CSICSILA:       -- and I     rcu'ld direct the Court's
09: 56: I 8      15    attention to Fbragraph     , wtrich is on Page 25 of the plea
                                                        31

                 16    agreement, ultrich says that "The defendant understmds h1s
                 17    compliance with each part of this plea agreement extends
                 18    through the period of h'is senten@, and failure to abide by
                 19    any term of the agreenent is a violation of the agrement.'
09 : 50: 30      20               So   it's     very clear    in b'lack and wttite tlrat it      ms
                 21    contemplated that the defendant's cooperation uou'ld cottinue
                 22    throughout his sentence which he is sti'll serving.
                 23             I uould also just uant to respond briefly to the
                 24    notion that     it
                                     uasn't contemplated that the defendants upuld
09:56:53         25    continue to cooperate. It was very clear in public filirgs
      Case: 1:09-cr-00383 Document #: 754 Filed: 09/27/19 Page 8 of 10 PageID #:6791

                                     PROCEEDINGS SEALED BY ORDER OF COURT
                                                                                             I
               1   and   in the public sentenc'ing that everyone, including the
               2   defense and the defendant, understood       that they      tJvould be

               3   called upon to testify in the future.
               4            In the government's sentencing       memo,   it    states very
09:57;10 5         clearly:    "To be   clear, the government believes that the
               6   Flores brothers are viable and credible witnesses, and the
               7   governruent anticipates usjng them in the future. "
               8            There's also 'in the public proceedings at sentencing,
               I   one of the defense attorneys on Page 5 of the transcript says:
09:57:29   1   0   "The ongoing nature of th'is process is such that these
           11      gentlemen will be forever called upon, at'least for probably a
 .12               great number of years, to cont'inue to appear when necessary
           13      and provide live test'imony in the matters that they've already
           14      been prov'ided 'informat'ion   on"    excuse me --    "that they've
Oet57t47   1   5   already provided jnformat'ion on. "
           16                        there's also references 'in a sealed
                              And then
           17      proceeding, which I obviously uon't detail on the record now
           18      but I have a copy of the transcript for the hurt and for
           19      defense counsel, which makes the same point clear, that
09:58:00 20        testimony was antic'ipated go'ing    into the future.
           21                 Andso, again, the government bel-ieves that on the
           22      showing, on the fif ing jtself and under Supreme Court case
           23      ldrry, this motion should be denied because there 'is no
           24      unconstitutional motive that's been put forth by the defense
09:58:18 25        or alleged by the defense. The rption should be denied
              Case: 1:09-cr-00383 Document #: 754 Filed: 09/27/19 Page 9 of 10 PageID #:6792

                                             PROCEEDINGS SEALED   BY ORDER OF   COURT
                                                                                                       I
                  1    outright. I'll        hand the defense        --
                  2               THE   $URT: I       agree the motion needs        to   be den'ied.   I
                  3    don't think I have jurisd'ict'ion to order the government to do
                  4    this. I don't th'ink there's been a suff icient sholing. I
09:58 r 34        5    don't th'ink there's a mutual mistake. I mean, there was no
                  6    quest'ion in my mind vfren I sentenced the Flores brothers that
                  7    I knew that they might one day be testifying in the case of
                  8    Mr.   Guzman.

                  I                I was first assigned th'is case and then went on to
                                  As
09:58:55         10    serve as Chief Judge for six years, certa'in1y I became au,are,
                 11    as I think most peop'le on the government's side, that they had
                 12    not given up in any respect their search and quest to obtain
                 13    the capture and successful extradition of Mr. Guzman. In
                 14    fact, I call this case the g'ift that keeps giving because
09:59:20         15    numerous defendants have been captured and                extradited at
                 16    various times since       I was assigned this case way back maybe
                 17    eight or nine years ago.
                 18               So defendants       just               I contjnue to
                                                             keep coming, and
                 19    have   jurisdiction     over them. But I think even if I were
09:59:41         20    disposed   in   any   My, vfrich I'm not, to grant this           motion,
                 21    first of all, I       think   I rruould be pretty much'instantly
                 22    reversed by the Court         of   Appeals.
                 23                    of all, the net result of it would be to br-ing
                                  Second

                 24    these two gentlemen in front of me again for a potential
1   0:00:02      25    resentencing, and       I will tel'l you that each and every time
    Case: 1:09-cr-00383 Document #: 754 Filed: 09/27/19 Page 10 of 10 PageID #:6793

                                     PROCEEDINGS SEALED BY ORDER OF COURT
                                                                                      10

         1   I've   sentenced a defendantin th'is case, I have made a final
   ,2        concluslon as to vyhat their culpability aM their cooperation
  .3         shou'ld entit]e them to in terms of the 3553 factors.
         4            So for all those reasons, even though I applaud your
10:00:25 5   effort at creative lawyerirg on beha'lf of these tvrc gentlmen,
         6   I'm going to deny the motion.
         7                MS. CSICSITA: Thank you.
         I                MR. l-l0TALIlG: Thank        you, Judge.
         I                 (tfrich   rrvere   all the proceed'ings   heard.)
        10                                        CERTIFICATE

        11          I    fy that the foregoi ng i s a @rrect transcri pt frm
                        certi
 .12         the record of proceed'irgs in tte above-entit'led matter.
 .      13   /sllQthleen M. Fennel T                     Septqrber    9,   2019
        14
        15
             lGthl een H. Fennel I
             Official Court Reporter
                                                         r
        16
        17
        18
        19
        20
        21

        22
        23
        24
        25
